    Case 1:24-mj-01365-DLC    Document 157    Filed 02/11/25   Page 1 of 38



                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS



IN THE MATTER OF
EXTRADITION OF T.C.
                                          No. 24-MJ-01365-DLC




                ORDER ON RELATOR’S EXTRADITION AND ON
                     RELATOR’S MOTION TO DISMISS


CABELL, Chief U.S.M.J.

      The United States has filed a complaint seeking to extradite

relator T.C. (“T.C.”) 1 to the Republic of Türkiye (“Türkiye”) for

the crime of causing reckless killing and injury under article

85/2 of the Criminal Code of Türkiye (“article 85”), in accordance

with an extradition treaty between the United States and Türkiye

(“the Treaty”). 2    T.C. moves to dismiss the complaint.            (D. 87).

Now, having conducted an extradition hearing under 18 U.S.C. §

3184 (“section 3184”), the court denies the motion to dismiss and

will certify the relator’s extradition to the Secretary of State.




1 The relator is referred to using abbreviations where he was a minor when

this matter commenced.
2 Treaty on Extradition and Mutual Assistance in Criminal Matters Between the

United States of America and the Republic of Turkey, U.S.-Turk., June 7,
1979, 32 U.S.T. 3111 (the “Treaty”).
     Case 1:24-mj-01365-DLC   Document 157    Filed 02/11/25    Page 2 of 38



I.   SUMMARY OF THE PARTIES’ ARGUMENTS

      The extradition complaint alleges that T.C. was driving at a

high rate of speed and struck some bystanders, causing the death

of one of them, “O.M.A.” 3      T.C. raises two principal arguments in

seeking to dismiss the complaint.

      First, T.C. argues that he cannot be found to have violated

article 85 because O.M.A.’s death did not result from his conduct

but rather resulted from the failure of emergency responders and

medical   staff    to   provide    the    victim   timely       medical   care.

Consequently, their conduct was an intervening and superseding

cause of O.M.A.’s death which broke the causal chain to T.C.                   As

such, T.C. argues that even accepting that he drove the vehicle

that struck O.M.A., his conduct was not the “proximate cause” of

O.M.A.’s death.

      Second, he argues that section 3184 and the Treaty do not

contemplate, and thus do not authorize, his extradition. He argues

that the Treaty as framed envisions that an extradition request

will rest on an indictment or a formal charge.           This matters, T.C.

argues, because he is merely wanted for questioning and has not

formally been indicted or charged with a crime.                The record does




3 The parties refer to the decedent and the other individuals at the scene by
their initials presumably to protect their identities. The court follows suit.



                                      2
     Case 1:24-mj-01365-DLC      Document 157     Filed 02/11/25   Page 3 of 38



include an arrest warrant but T.C. maintains that the warrant is

not a substitute for a formal charge.              In that regard, the Treaty

requires the United States to surrender persons “who are being

prosecuted for or have been charged with an offense,” and an arrest

warrant     does   not   satisfy    this       language,    according     to      T.C.

Regarding     section    3184,     T.C.       maintains    similarly    that      the

statute’s use of the terms “charged” and “charging” requires the

existence of criminal charges as a prelude to an extradition.

      The government counters that the arrest warrant is enough to

satisfy the Treaty and in support cites a First Circuit decision,

Aguasvivas v. Pompeo, 984 F.3d 1047, 1060 (1st Cir. 2021), as well

as decisions from the Second, Fourth, Seventh, and Ninth Circuits. 4

As to probable cause, the government maintains that the record

amply establishes probable cause that T.C. legally was responsible

for the victims’ injuries.          Relatedly, the government points out

that T.C. relies on “proximate cause” as an element of the article

85 offense when, in fact, the language only refers to a “person

who causes the death.”        Lastly, it responds that T.C.’s argument



4 T.C., in turn, submits that the Aguasvivas decision supports his position.

(D. 87) (“The bigger problem arises from the omission in the extradition request
of any indictment or the like. To be more precise, such a document was not
simply omitted -- it does not exist at all, as the parties agree that the
Dominican prosecutor has yet to seek an indictment”) (quoting Aguasvivas, 984
F.3d at 1057); (D. 155) (“Extradition cannot be sought for ‘a possible, yet-
to-be-determined prosecution.’”) (quoting Aguasvivas, 984 F.3d at 1058).



                                          3
      Case 1:24-mj-01365-DLC     Document 157      Filed 02/11/25    Page 4 of 38



that first responders should have taken T.C. to a closer hospital

or that medical staff delayed treatment constitutes an affirmative

defense that would be reserved for a Türkish court to consider.

II.    LEGAL STANDARD

       Section 3184 “establishes a two-step procedure which divides

responsibility     for    extradition        between    a    judicial       officer,”

including an authorized magistrate judge, “and the Secretary of

State.”     United States v. Kin-Hong, 110 F.3d 103, 109 (1st Cir.

1997).     Based on a complaint initiated by “the Department of

Justice in response to [a] foreign government’s request,” the

judicial    officer     issues    an    arrest     warrant    for     the     targeted

individual.      Aguasvivas, 984 F.3d at 1050; 18 U.S.C. § 3184.

Thereafter, the judicial officer “conducts a hearing to consider

whether    the   extradition      request      complies      with     the     relevant

treaty’s documentation requirements, and whether ‘the evidence

[is] sufficient to sustain the charge under the provisions of the

proper treaty.’”       Aguasvivas, 984 F.3d at 1050 (citation omitted).

Certification     of   the     matter   by   the    judicial        officer    to   the

Secretary of State is in order when:

       (1) the judicial officer is authorized to conduct the
       extradition proceeding; (2) the court has jurisdiction over
       the fugitive; (3) the applicable treaty is in full force and
       effect; (4) the crime(s) for which surrender is requested
       is/are covered by the applicable treaty; and (5) there is
       sufficient evidence to support a finding of probable cause as
       to each charge for which extradition is sought.


                                         4
       Case 1:24-mj-01365-DLC     Document 157     Filed 02/11/25    Page 5 of 38




Matter of Extradition of Taylor, 484 F. Supp. 3d 13, 15 (D. Mass.

2020) (citing Fernandez v. Phillips, 268 U.S. 311, 312 (1925));

accord Matter of Extradition of Koželuh, 610 F. Supp. 3d 1066,

1075-76 (E.D. Tenn. 2022); 18 U.S.C. § 3184.

III.     BACKGROUND

A.     The Accident

        On the evening of March 1, 2024, D.O.O., driving his father’s

Volvo with two passengers (P.T.E. and Z.H.D.), arrived at the

residence of T.C., his friend.            (D. 12, p. 136).          T.C., driving a

Porsche,     and    D.O.O.,     driving   the    Volvo,     then    left   the      area

whereupon D.O.O. picked up K.A. and Y.E. and thereafter M.E.Y.

(D. 12, pp. 130-131, 136-137).                D.O.O. also stopped at a liquor

store.     One of the individuals went into the liquor store to buy

cigarettes.        When he returned, the group got back into the Volvo

and the Porsche and left the area.              (D. 12, pp. 136-137).         D.O.O.

also stopped for gas at a Shell station.                   (D. 12, pp. 131, 135,

137, 139) (D. 70-3, p. 40).             No person within the group reported

to authorities that T.C. was intoxicated.                  (D. 12, p. 99).

        Shortly before midnight, the two cars entered a two-lane,

two-way     road    with   a    speed   limit    of   30    kilometers     per      hour

(approximately 18 miles per hour).              (D. 12, pp. 97-98, 112).            T.C.

was driving the Porsche with three passengers:                  A.K. in the front



                                          5
      Case 1:24-mj-01365-DLC    Document 157       Filed 02/11/25   Page 6 of 38



seat along with A.A. and B.A in the back seat.                (D. 12, p. 98) (D.

70-3, p. 40).       With the Volvo leading the way, T.C. “suddenly

accelerated” and passed the Volvo.            (D. 12, p. 135).       After passing

the     Volvo,    T.C.     “increased        the   speed     of     the   [Porsche]

considerably.”     (D. 12, p. 137).

       As he came to the bend in the road, he turned the corner at

an excessive speed well above the speed limit.                    (D. 12, p. 129);

(D. 12, pp. 135, 137) (D.O.O. and A.A. describing that T.C. entered

the turn “too quickly”); (D. 12, p. 113) (T.C. “did not lower the

speed of the car.”).         As he did so, he hit three ATVs parked on

the   side   of   the    road   and    five    individuals.         One   of   those

individuals, O.M.A., died.            (D. 12, pp. 121-122, 129, 131, 135,

137).    The ATVs were parked on the side of the road because one of

them had broken down.        (D. 12, p. 122).

       Understandably distraught, T.C. got out of the Porsche, as

did the other passengers.             (D. 12, pp. 131, 133, 137).                  Two

witnesses heard him say, “My life is over.”                (D. 12, pp. 133, 135).

Another witness saw several injured individuals lying on the road.

T.C. “shouted, ‘There was another person under the [Porsche],’ and

asked for help.”         (D. 12, pp. 131, 137).         He also telephoned his

private driver and his mother (Eylem Tok), telling both that he

had gotten in an accident.        (D. 12, pp. 131, 137).




                                         6
       Case 1:24-mj-01365-DLC      Document 157   Filed 02/11/25    Page 7 of 38



        A fire truck arrived.         Tok arrived thereafter in a vehicle

with another woman.        (D. 12, p. 131).       T.C., along with two of his

friends, got into this vehicle whereupon the group, including Tok,

drove away.       Less than three hours after the accident, T.C. and

Tok are seen in a photograph passing through airport security at

the Istanbul airport.           (D. 12, p. 141).      They departed on a 3:50

a.m. flight to Cairo and, from there, flew to the United States.

(D. 12, pp. 96, 143-144).

B.     The Investigation and/or Prosecution

        After the accident, the İstanbul Chief Public Prosecutor’s

Office began an investigation into T.C.’s alleged commission of

the article 85 offense. 5          (D. 12, pp. 95, 101).           The extradition

file includes statements given to the Turkish police by passengers

in the Porsche and the Volvo, the driver of the Volvo, and several

of the injured ATV riders.




5   Article 85 reads as follows:

        (1) Any person who causes the death of another by reckless conduct
        shall be sentenced to a penalty of imprisonment for a term of two to
        six years.

        (2) If the act results in the death of more than one person, or the
        injury of one or more persons together with death of one or more
        persons, the offender shall be sentenced to a penalty of imprisonment
        for a term of two to fifteen years.

(D. 12, p. 95).



                                          7
     Case 1:24-mj-01365-DLC   Document 157        Filed 02/11/25   Page 8 of 38



      A few weeks after the accident, the prosecutor provided a

detailed recitation of the facts and the evidence regarding the

commission of the article 85 offense (“prosecutor’s report”).                     The

body of the report notes “the investigation[] carried out by [the]

Chief Public Prosecutor’s Office.”               (D. 12, p. 96).                  The

concluding    paragraph    repeats     this      statement.        Of   note,     the

paragraph requests T.C.’s extradition “so that the investigation

against [T.C.] can be concluded.”           (D. 12, p. 101).

      Pertinent     to    causation,       the    prosecutor       described       an

examination of O.M.A.’s body that he and a doctor performed.

Relative thereto, the prosecutor stated the following:

      [I]t was detected that there were intense blood tissue and
      fractured bone tissue on [O.M.A.’s] left foot.       Intense
      bleeding from his nose area was detected.      Scratches and
      ecchymosis, arising from the impact, were detected on his
      left hip, left shoulder and right rib . . . Following the
      post-mortem examination, it was reached to the conclusion
      that [O.M.A.] died to the internal bleeding arising from the
      impact[] he had due to the accident. A decision for autopsy
      was rendered to determine the certain cause of death and a
      detailed report is expected.

(D. 12, p. 96) (emphasis added). 6


6 As argued at the hearing, T.C. submits that the prosecutor should be asked or

required to produce the autopsy report.     T.C. reasons that the report will
resolve an uncertainty about causation, specifically, the existence of a
supervening cause when the first responders took O.M.A., who suffered only a
broken leg, to the distant hospital notwithstanding the existence of closer
hospitals in Istanbul. T.C. emphasizes that it has been seven months since the
accident, and the autopsy report, which would “determine the certain cause of
death,” has yet to be produced.

The argument lacks merit. “[I]n an extradition proceeding, discovery is not
only discretionary with the court, it is narrow in scope.” Koskotas v. Roche,


                                       8
     Case 1:24-mj-01365-DLC    Document 157     Filed 02/11/25   Page 9 of 38



      As part of the investigation, a mechanical engineer prepared

an expert report.        He determined that the Porsche “entered the

bending part of the road . . . at a very high speed (estimated

170-180 [kilometers per hour]) and crashed into [the] ATV vehicles

and [the] people on the side of the road at the exit point of the

bend.”    (D. 12, p. 129).        Concordantly, he concluded that “the

incident occurred due to exceeding the 30” kilometer speed limit.

(D. 12, p. 129).

      Correspondingly, a forensic traffic expert concluded that

T.C. violated several traffic laws.            One of the laws the expert

cited was Article 52/1-b, which requires drivers to adapt their

speed to the characteristics of their vehicle and to the conditions




931 F.2d 169, 175 (1st Cir. 1991).      Specifically, it is within the court’s
discretion to allow “the relator to offer limited, explanatory evidence” in
order to afford the “relator the opportunity to present reasonably clear-cut
proof which would be of limited scope and have some reasonable chance of negating
a showing of probable cause.”     Id.   Relative to causation, and contrary to
T.C.’s position, O.M.A.’s injuries were extensive. (D. 12, p. 96) (describing
the injuries, as quoted above, as showing “intense blood tissue and fractured
bone tissue” from left foot, “[i]ntense bleeding from [O.M.A.’s] nose area . .
. and [s]cratches and ecchymosis, arising from the impact” on “left hip, left
shoulder and right rib”). The autopsy report is unlikely to provide sufficient
evidence of a supervening cause to refute or materially weaken probable cause
given, inter alia, the severity of these injuries.         Further, the risk of
expanding these proceedings into a minitrial about intervening causation is
real. See id. (“[E]xtradition proceedings are not to be converted into a dress
rehearsal trial.”) (citations omitted). Lastly, this court’s role is not to
determine whether Turkish law provides for intervening causation as absolving
T.C. of committing the article 85 offense except as necessary to ensure
compliance with section 3184 and the Treaty. See Taylor v. McDermott, 516 F.
Supp. 3d 94, 104 (D. Mass. 2021); Taylor, 484 F. Supp. 3d at 18 (recognizing
that “[e]xtradition proceedings are not vehicles for United States federal
courts to interpret and opine on foreign law”) (citations omitted).



                                        9
    Case 1:24-mj-01365-DLC    Document 157      Filed 02/11/25     Page 10 of 38



of the road, weather, visibility, and traffic. 7                 (D. 12, pp. 114-

115).     In that regard, the Porsche driven by T.C. is a high-

performance sports car.        (D. 12, p. 98).         Given these and other

circumstances     denoted    in     the    report,     the       forensic    expert

attributed “the primary fault in the occurrence of [the] accident”

to T.C.    (D. 12, p. 115) (emphasis and capitalization omitted).

The expert deemed the drivers of the three ATVs as having “the

secondary fault in the occurrence of the accident.”                     (D. 12, p.

115) (emphasis and capitalization omitted).               Their fault stemmed

from violating another traffic law requiring a red-light device or

red reflector in the front and back of a broken-down vehicle.                      (D.

12, p. 115).

      Importantly,     throughout         the   prosecutor’s          report,      the

prosecutor outlined conduct by T.C. that firmly supported that he

committed the offense, including engaging in reckless conduct. 8

(D. 12, pp. 98-99) (summarizing passengers’ and Volvo driver’s

statements of T.C. exceeding speed limit, “constantly driving

fast[,]   and   taking    corners    hard”);     (D.    12,      p.   98)   (T.C.’s

passengers told him “to slow down” but “he did not listen.”); (D.



7 On the night of the accident, the weather was clear, and the asphalt road was
dry. (D. 12, pp. 97, 112).
8 The court makes this statement solely for purposes of extradition and, in
particular, the assessment of “sufficient evidence to sustain the charge.” 18
U.S.C. § 3184. The court has not and does not make a finding on the merits.



                                      10
   Case 1:24-mj-01365-DLC        Document 157      Filed 02/11/25   Page 11 of 38



12, p. 98) (reciting B.A.’s statement that, “We fastened our

seatbelts in case”); (D. 12, p. 96) (T.C. took the “corner on

extreme high-speed[,]” skidded the vehicle, and hit the five ATV

riders “stopped at the side of the road . . . .”); (D. 12, p. 99)

(“[I]t    has     been   concluded     that    the   accident       occurred   as     a

consequence that [T.C.] exceeded the speed limit and could not

take the bend he entered, and thereby skidding the vehicle and

crashing the persons standing still on the right side of the

road.”); (D. 12, p. 96) (“Due to the accident, [O.M.A.] died and

other individuals were injured.”); (D. 12, p. 99) (“For these

reasons, it has been understood that [T.C.] . . . caused the death

of one person and the injury of others . . . .”).

     On    July    3,    2024,   a   judge    of   the   İstanbul     7th   Criminal

Judgeship of Peace issued an arrest warrant for T.C. based on the

article 85 offense of causing reckless killing and injury.                          (D.

12, pp. 100, 151).          In the context of issuing the warrant, the

judge examined “the investigation file” and noted “the existence

of strong suspicion” that T.C. “committed the offence” proscribed

by article 85 “and there has been reason for detention.”                    (D. 12,

p. 149).    The warrant explicitly identifies the “Offence Charged

Against the Accused” as “causing Reckless Killing and Injury” under

article 85.       (D. 12, p. 151) (emphasis added).            Further, the judge

stated in the arrest warrant that, “By taking into consideration


                                         11
     Case 1:24-mj-01365-DLC   Document 157    Filed 02/11/25    Page 12 of 38



the sanctions . . . for the offence . . ., [the] upper limit of

the penalty and [the] concrete evidence in the file pointing to

commission of the offence by [T.C.], it has been decided to issue

an arrest warrant for [T.C.] to detain him . . . .”                 (D. 12, p.

149).   When arrested, and if T.C. could not be taken to the Chief

Public Prosecutor’s Office within 24 hours, the warrant states

that the investigation prosecutor shall be contacted to take T.C.’s

statement such that “interrogation will be evaluated.”               (D. 12, p.

151) (capitalization omitted).

C.   Events in the United States and T.C.’s Arrest

      On March 2, 2024, T.C. and Tok arrived in the United States.

(D. 12, pp. 143-144).         In early May, a magistrate judge of the

United States District Court in the Southern District of Florida

attested to her review of a complaint against T.C. seeking his

extradition.      The duly sworn complaint, filed by an assistant

United States attorney, requested T.C.’s arrest and the magistrate

judge issued an arrest warrant.              (D. 5-1).         It states that,

“According to information provided by the government of Türkiye,

T.C. is wanted for prosecution on a charge of Causing Reckless

Killing and Injury, in violation of and punishable by Articles

85/2 and 31/3 of the Criminal Code of Türkiye.”           (D. 5-1) (emphasis

added).




                                     12
      Case 1:24-mj-01365-DLC    Document 157      Filed 02/11/25     Page 13 of 38



       On June 14, 2024, T.C. was arrested near Boston, brought

before this court for his initial appearance, and has been detained

since that time.

IV.    DISCUSSION

       As noted, the government requests that the court certify to

the Secretary of State that T.C. is extraditable to Türkiye on the

article 85 offense.        T.C. in addition argues that certain wording

in the extradition statute, 18 U.S.C. § 3184, bars his extradition.

The court first examines whether each of the five elements to

certify T.C.’s extradition is satisfied, see Taylor, 484 F. Supp.

3d at 15, and then addresses his argument concerning section 3184.

1.    Consideration of the Five Extradition Elements

A.    Authority of the Court

       The court’s authority over this extradition dispute is well

established.      The undersigned is a federal magistrate judge and

section 3184 permits “any magistrate judge authorized to do so by

a court of the United States” to hear and consider the evidence of

the fugitive’s criminality.            18 U.S.C. § 3184.           Rule 1(e) of the

Rules for United States Magistrate Judges in the United States

District     Court   for     the      District    of   Massachusetts        empowers

magistrate     judges   in     this    district   to   “[c]onduct       extradition

proceedings, in accordance with [section 3184].”                     D. Mass. Local

Magistrate Judge Rule 1(e).           Further, under 28 U.S.C. § 636(a)(1),


                                          13
     Case 1:24-mj-01365-DLC   Document 157     Filed 02/11/25   Page 14 of 38



a magistrate judge has “all powers and duties conferred or imposed

upon United States commissioners by law.”            28 U.S.C. § 636(a)(1).

Prior to the enactment of this statute, United States commissioners

conducted extradition proceedings.           Austin v. Healey, 5 F.3d 598,

602 (2d Cir. 1993); accord Matter of Extradition of D’Monte, Case.

No. 22-mj-230(MDM), 2023 WL 7402921, at *9 (D.P.R. Nov. 9, 2023)

(finding it “well-settled that . . . magistrate judges . . . may

render a certification under § 3184”) (citing Austin, 5 F.3d at

601-602).     In sum, the court finds it is authorized to preside

over the present matter.

B.   Jurisdiction Over T.C.

      The parties agree, and the court so finds, that the court has

jurisdiction over T.C. where he was arrested in this district.                  It

is well established that a court has jurisdiction over a fugitive

who is located and arrested in the court’s district.                See Matter

of Extradition of Lalama Gomez, 24-MJ-458(LKE), 2024 WL 4646959,

at *4 (E.D.N.Y. Nov. 1, 2024); Matter of Extradition of Smyth, 24-

mc-00084-JCN, 2024 WL 2093460, at *2 (D. Me. May 9, 2024) (noting

Smyth’s arrest in District of Maine and that “Court may conduct

extradition proceedings for any person found within the Court’s

jurisdiction”) (citing section 3184); accord Pettit v. Walshe, 194

U.S. 205, 219 (1904) (“[C]ommissioner or judicial officer here

referred to is necessarily one acting as such within the state in


                                     14
     Case 1:24-mj-01365-DLC    Document 157    Filed 02/11/25   Page 15 of 38



which    the   accused   was    arrested      and   found.”)     (interpreting

predecessor statute to section 3184 with similar language).                Here,

T.C. was located and arrested near Boston on June 14.                  As such,

the court has personal jurisdiction over him.

C.   Treaty in Full Force and Effect

      The parties agree that the Treaty between the United States

and Türkiye was in full force and effect at all relevant times.

By declaration, Tom Heinemann, an attorney advisor in the Office

of Legal Advisor for the United States Department of State, attests

that the Treaty is in full force and effect. (D. 70-1). Consistent

with this declaration, the court finds that the Treaty was and

remains in full force and effect for purposes of the extradition

proceeding.

D.   Offense Covered by the Treaty

      T.C. argues that article 85 is not covered by the Treaty.

Specifically, he submits that the plain language of the Treaty

requires the United States to surrender persons “who are being

prosecuted for or have been charged with an offense,” and an arrest

warrant does not satisfy this language.              Before turning to his

argument, which is based on Articles 1 and 7 of the Treaty, the

court first examines whether article 85 satisfies the Treaty’s

dual criminality provision, that is, whether the offense for which

extradition is sought is a crime in both countries.                 See, e.g.,


                                      15
   Case 1:24-mj-01365-DLC   Document 157   Filed 02/11/25   Page 16 of 38



Taylor, 484 F. Supp. 3d at 16 (determining whether “charges for

which extradition is sought [were] crimes” under “both Japanese

and United States law and covered by” treaty under this fourth

element); accord D’Monte, 2023 WL 7402921, at *8, *10 (ascertaining

whether treaty covers offense for which extradition is sought

entails “determining whether an offense is punishable under the

laws of both countries”); see also Matter of Extradition of Manzi,

888 F.2d 204, 207 (1st Cir. 1989) (“[E]ach element of the offense

purportedly committed in a foreign country need not be identical

to the elements of the similar offense in the United States.”)

(citation omitted).

     Article 2 of the Treaty addresses extraditable offenses.

These include:   (1) “Offenses, regardless of whether listed in the

Appendix to this Treaty or not, which are punishable under both

the federal laws of the United States and the laws of Turkey by

deprivation of liberty at least for a period exceeding one year or

by a more severe penalty” (Treaty, Art. 2(1)(a)); or (2) “Offenses

listed in the Appendix to this Treaty which are punishable under

both the laws of the Requesting Party and the Requested Party for

at least a period exceeding one year or by a more severe penalty”

(Treaty, Art. 2(1)(b)).     (D. 12, p. 8); see, e.g., D’Monte, 2023

WL 7402921, at *10 (examining offenses for which extradition sought




                                   16
      Case 1:24-mj-01365-DLC      Document 157        Filed 02/11/25    Page 17 of 38



based on whether fugitive’s conduct punishable by more than one

year under laws of both countries).

       These     provisions    encompass        dual     criminality,        a    central

requirement of extradition law.                 See Matter of Extradition of

Manzi, 888 F.2d 204, 207 (1st Cir. 1989) (interpreting similar

language as requiring extraditable offense to be “crime under the

laws of both contracting countries,” a principle “‘central to

extradition       law’”)    (citation     omitted).             Pertinent        to   dual

criminality, “[i]t is enough if the particular act charged is

criminal in both jurisdictions.”               Collins v. Loisel, 259 U.S. 309,

312    (1922);    Manzi,    888    F.2d   at     207    (“‘[D]ouble         criminality’

requires only ‘that the acts upon which the charges are based are

proscribed      by   similar   provisions        of     federal”       or   state     laws)

(ellipses omitted).         Further, the law “does not require that the

name by which the crime is described in the two countries . . . be

the same; nor that the scope of the liability . . . be coextensive.”

Collins, 259 U.S. at 312.

       The article 85 offense easily qualifies as an extraditable

offense under Article 2. Regarding the acts upon which the article

85 offense is based, T.C.’s conduct entailed driving a Porsche at

more than five times the speed limit late at night on a two-lane

road and not listening to requests by passengers in the Porsche to

slow    down.        The   prosecutor’s        report     details      T.C.’s     conduct


                                          17
       Case 1:24-mj-01365-DLC      Document 157      Filed 02/11/25    Page 18 of 38



including exceeding the speed limit.                 Unable to take the bend in

the road, the Porsche skidded and crashed into the ATV riders

standing on the side of the road.                Although not intentional, such

conduct was nonetheless reckless.                The prosecutor’s report further

describes       T.C.’s    conduct    as    causing    the    death     of   O.M.A.     and

injuries to the four other ATV riders. 9                The foregoing conduct is

criminal       under     Turkish    law,   as     explained    in      detail   in     the

prosecutor’s        report.        See    D’Monte,    2023    WL      740291,   at     *10

(discussing dual criminality anent Canadian extradition request

and noting Canadian prosecutor’s affidavit explaining Canadian law

as applicable to D’Monte’s conduct).

         Further, such conduct, if committed in the United States, is

proscribed under federal law as involuntary manslaughter.                               18

U.S.C. § 1112(b) (defining manslaughter as “unlawful killing of a

human being without malice”).               Relative to Article 2(1)(b), the

appendix lists “manslaughter” as an extraditable offense. 10

         Also in accordance with Article 2(1)(b), the offenses are

punishable for at least a period of one year or by a more severe

penalty under the laws of the United States and Türkiye.                               The

federal involuntary manslaughter offense is punishable by up to


9    Again, the court makes the above findings solely for purposes of extradition.
10T.C. does not challenge the government’s reliance on involuntary manslaughter
under federal law anent proscribing the conduct as criminal.



                                            18
   Case 1:24-mj-01365-DLC       Document 157     Filed 02/11/25    Page 19 of 38



eight years in prison.         18 U.S.C. § 1112.       If charged as a juvenile

delinquent under federal law, T.C., who was born in June 2007,

could be punished with “official detention” until he reaches the

age of 21, i.e., approximately four years.                   18 U.S.C. § 5031

(defining “juvenile delinquency” as violation of United States law

“committed by a person prior to his eighteenth birthday which would

have   been   a   crime   if    committed   by    an    adult”);    18   U.S.C.    §

5037(c)(1)(A) (setting term of official detention for “juvenile

who is less than eighteen years old” as up to the date he “becomes

twenty-one years old”).

       In Türkiye, the article 85 offense is punishable by two to 15

years imprisonment when it results in “the injury of one or more

persons together with death of one or more persons.”                  The penalty

is “reduced by one-third” under article 31/3 of the Criminal Code

of Türkiye where, as here, the defendant is older than 15 years

and younger than 18 years at the time of the offense, meaning T.C.

would appear to be subject to up to ten years imprisonment under

Turkish law.      (D. 12, pp. 95-96)

       Having thus determined that article 85 is an extraditable

offense, the court turns to T.C.’s arguments relative to Articles

1 and 7.      As indicated, Article 1 requires the United States to

surrender persons “who are being prosecuted for or have been

charged with an offense.” T.C. initially submits that the language


                                       19
     Case 1:24-mj-01365-DLC    Document 157      Filed 02/11/25    Page 20 of 38



in Article 1 is plain and unambiguous.               Asserting that he is not

being prosecuted and that there is no formal or active charge

against him, he maintains he is only being investigated. 11                          He

submits that a mere investigation for allegedly committing the

article 85 offense falls outside the above language in Article 1.

In short, so he argues, Türkiye seeks his extradition to take his

statement,    as    noted     in   the     arrest    warrant,      “so   that       the

investigation      can   be   concluded,”       as   stated       by   the    Turkish

prosecutor (the “prosecutor”) in his report.                   (D. 12, pp. 101,

151)   (emphasis    added).        In    that   vein,   T.C.   argues        that   his

extradition cannot be sought for “a possible, yet-to-be-determined

prosecution.”      (D. 155, p. 1) (quoting Aguasvivas, 984 F.3d at

1058). 12

       T.C.’s argument invokes principles of treaty interpretation.

“The interpretation of a treaty, like the interpretation of a

statute, begins with its text.”            Medellín v. Texas, 552 U.S. 491,

506–07 (2008) (citing Air France v. Saks, 470 U.S. 392, 396–397

(1985)). If, however, a “treaty’s text is ambiguous and reasonably



11 Consistent with an investigation, or so T.C. contends, the arrest warrant
seeks to take and evaluate T.C.’s statement. (D. 12, p. 151). Further, he
points out that unless he appears before a judge within a day of the arrest,
the investigating prosecutor will take his statement, as stated in the warrant.
12 In full, the language, which is dicta, states that “this case concerns a
request to extradite for arrest and questioning in anticipation of a possible,
yet-to-be-determined prosecution.” Aguasvivas, 984 F.3d at 1058.



                                          20
     Case 1:24-mj-01365-DLC    Document 157   Filed 02/11/25   Page 21 of 38



accommodates” the government’s construction, the court “defers to

that construction . . . .”       Aguasvivas, 984 F.3d at 1058; see also

Kin-Hong,    110   F.3d   at    110   (“[E]xtradition      treaties,     unlike

criminal statutes, are to be construed liberally in favor of

enforcement” and, if “treaty fairly admits of two constructions,

. . ., the more liberal construction is to be preferred”) (citing

Factor v. Laubenheimer, 290 U.S. 276, 293–294 (1933), and United

States v. Howard, 996 F.2d 1320, 1330-1331 (1st Cir. 1993)).

“Conversely, if the textual meaning is plain and cannot reasonably

bear the government’s construction,” the court “must reject that

construction.”     Aguasvivas, 984 F.3d at 1058.          Relatedly, courts

“give ‘the specific words of [a] treaty a meaning consistent with

the shared expectations of the contracting parties.’”                BG Group,

PLC v. Republic of Argentina, 572 U.S. 25, 37 (2014) (quoting Air

France, 470 U.S. at 399).

      T.C.’s argument that the aforementioned language in Article

1 as well as similar language in Article 7 (“a person being

prosecuted or who is charged with an offense”) is plain and

unambiguous fails to persuade. 13          To support the argument, T.C.

inaptly relies, to some degree, on the definition of the noun




13 At the hearing, T.C. focused on the language of Article 1 by noting that
Article 7 simply concerns what documents to include in an extradition request.



                                      21
   Case 1:24-mj-01365-DLC     Document 157   Filed 02/11/25   Page 22 of 38



“charge” as opposed to the verb “charged.”          (D. 155, p. 2) (citing

“CHARGE,    Black’s   Law   Dictionary    (12th    ed.   2024)   (‘A    formal

accusation of an offense as a preliminary step to prosecution.’)”)

(emphasis added).        He thereby conflates an accusatory document,

i.e., a charge, with the Treaty’s language that a person be charged

with an offense.      Articles 1 and 7 use the verb “charged.”                The

definition of the verb “charged” in Black’s Law Dictionary (12th

ed. 2024) is “[t]o accuse (a person) of an offense.”            Charge (vb.),

Black’s Law Dictionary (12th ed. 2024).        Accordingly, the ordinary

meaning of charged therefore equates to accused.

     Regardless, no language qualifies or restricts the Article 1

phrase “have been charged with an offense” to “formally charged

with an offense,” such as indicted or charged in a criminal

complaint.     If Türkiye and the United States wished to impose a

requirement that the fugitive be “formally charged,” they could

have included that language in Article 1.            See Manrique v. Kolc,

65 F. 4th 1037, 1041-1043 (9th Cir. 2023) (construing Article I of

United     States-Peru    treaty   requiring      extradition    of    persons

“charged with” extraditable offense as not “limited to formal

charges” based on “ordinary meaning of the verb ‘charge’” as to

“accuse someone of a crime”) (citing Charge (vb.), Black’s Law




                                     22
     Case 1:24-mj-01365-DLC   Document 157    Filed 02/11/25   Page 23 of 38



Dictionary (11th ed. 2019)); 14 see also In the Matter of Assarsson,

635 F.2d 1237, 1243 (7th Cir. 1980) (If “parties had wished to

include” an “additional requirement that a formal document called

a charge be produced, they could have so provided.”); accord

Aguasvivas, 984 F.3d at 1060 (quoting this language in Assarsson

and agreeing with court’s holding “and the rationale”) (emphasis

added).

      The absence of a formal charging document in the Article 7

list of documents which must accompany an extradition request

supports this construction.           That list does not even mention

“charged”, “a charge”, or “the charge”.              Hence, the fact that

Türkiye and the United States in the Treaty did not require the

extradition file to contain any document regarding a charge in

Article 7 reinforces that they did not intend to require the

fugitive to be formally charged in Article 1.             See Emami v. U.S.

Dist. Ct., 834 F.2d 1444, 1448, n.3 (9th Cir. 1987) (rejecting

argument that Article 1(1) of treaty required “public charge . .

. having been filed against the extraditee” based on reasoning in


14It is true that the plaintiff in Manrique relied on a document issued after
completion of an investigation (“an Acusación Fiscal”) as satisfying the Article
I “charged with” language. See id. at 1041-41. That document preceded issuance
of a formal charge by a judge (“an Orden de Enjuiceamiento”). Even so, the
court’s reasoning that “[n]othing in the language of the Treaty unambiguously
requires an Orden de Enjuiciamiento, as opposed to an Acusación Fiscal, to
trigger extradition” applies equally and convincingly to the case at bar. Id.
at 1042 (emphasis added).



                                       23
      Case 1:24-mj-01365-DLC   Document 157    Filed 02/11/25     Page 24 of 38



Assarsson, 635 F.2d at 1242-1243, including that Assarsson treaty

did    not   require   extradition    file    to   contain      “copy   of   formal

charges”); accord Assarsson, 635 F.2d at 1242-1243; Sacirbey v.

Guccione, 589 F.3d 52, 64-65 (2d Cir. 2009) (collecting cases

rejecting “‘formal charge’ arguments”). 15

       Relatedly, both the Assarsson and Emami treaties required

certain documents to accompany or support the extradition request.

Significantly, like the language in Article 7, such documents

included an arrest warrant but did not include a document setting

forth the charge(s).      See Aguasvivas, 984 F.3d at 1060. 16           Further,

the treaties in Emami and Assarsson included provisions similar to

the language in Article 1 of the Treaty that requires a party to

extradite persons who “have been charged with an offense.” Article


15Under Article I of the treaty in Sacribey, the parties “agree[d] to deliver
up persons who having been charged with or convicted of any of the crimes and
offenses specified in [Article II] . . . .” Sacirbey, 589 F.3d at 57. Article
III of the same treaty set out the documents required to accompany an extradition
request, i.e., an arrest warrant and “other evidence upon which such warrant
was issued.” Id. (emphasis omitted). The Treaty between the United States and
Türkiye includes similar language, respectively, in Articles 1 and 7. Neither
treaty requires the extradition file to include a copy of the charge, such as
an indictment or criminal complaint.

16The list of the required documents in the Aguasvivas treaty included an arrest
warrant and “the document setting forth the charges.”       Extradition Treaty,
Dominican Republic-United States, art. 7, § 3(b), Jan. 12, 2015, T.I.A.S. No.
16-1215. Primarily to avoid rendering “the document setting forth the charges”
phrase superfluous, the majority rejected the government’s argument that the
arrest warrant could perform “double duty” by serving as both the arrest warrant
and the document setting forth the charges. Aguasvivas, 984 F.3d at 1058, 1061-
63. This key finding in Aguasvivas differs from the issues presently before
the court. Nonetheless, the decision remains predictive, most notably because
the majority agreed with the holdings and rationale of Emami and Assarsson.




                                       24
      Case 1:24-mj-01365-DLC   Document 157   Filed 02/11/25   Page 25 of 38



1 of the treaty in Emami imposed the obligation to extradite

persons found in a party’s territory “who have been charged with

an offense.”     Treaty of Extradition June 20, 1978, United States–

Federal Republic of Germany, 32 U.S.T. 1485, T.I.A.S. No. 9785.

Similarly, Article 1 of the treaty in Assarsson required each party

to extradite “persons found in its territory who have been charged

with or convicted of any of the offenses specified in Article II

of this Convention committed within the territorial jurisdiction

of the other.”       Convention on Extradition, Oct. 24, 1961, United

States–Sweden, 14 U.S.T. 1845, T.I.A.S. No. 5496.

       Indeed, courts have consistently reasoned that, where, as

here, a treaty does not require the submission of a charging

document to accompany or support an extradition request, formal

charges are not required, notwithstanding use of the term “charged”

in Article 1 of the treaties at issue.           See Sacirbey, 589 F.3d at

64-67; Emami, 834 F.2d at 1448, n.3; Assarsson, 635 F.2d at 1242-

1244; In re Extradition of Handanovic, 829 F. Supp. 2d 979, 987

(D.    Or.   2011)   (rejecting   Handanovic’s    argument     that   fugitive

“cannot be extradited because she has not been ‘charged with or

convicted of’ any crime [under Article 1], but is merely a suspect

wanted for investigation” because treaty did “not make extradition




                                      25
     Case 1:24-mj-01365-DLC     Document 157      Filed 02/11/25    Page 26 of 38



conditional      on   the   filing    of    formal     charges”); 17    see     In   re

Extradition of Sarellano, 142 F. Supp. 3d 1182, 1187 (W.D. Okla.

2015) (arrest warrant satisfied treaty’s Article 1(1) language

requiring    extradition      of     persons     who   “requesting      Party    have

charged with an offense” and list of documents required arrest

warrant but not “separate document akin to an indictment or felony

information”); cf. Vitkus v. Blinken, 79 F.4th 352, 355, 365-367

(4th Cir. 2023) (taking “no issue with Secretary of State’s”

extradition of “persons not yet criminally charged” under the

treaties    in    Emami,      Assarsson,        and    Handanovic      but    finding

likelihood of success on merits that extradition request failed to

comply with Vitkus treaty, which required extradition request to

include “copy of the charging document”). 18




17 In that vein, the court in Handanovic observed that, “[s]imilar to the
treaties in both Emami and Assarsson, Article III of the” Handanovic treaty did
“not list formal charges among the documents required to be produced by the
requesting country.” Handanovic, 829 F. Supp. 2d at 987.

18
  Based on Vitkus, T.C. argues that Article 7’s omission of a charging document
“cannot be determinative in reinterpreting the clear language of Article 1,”
which establish legal preconditions to extradition, to wit, a charge and/or
prosecution. (D. 155). The argument is not convincing. To explain, unlike
Article 7, the list of required documents in the Vitkus treaty included “a copy
of the charging document.” Vitkus, 79 F. 4th at 355. The Vitkus court reasoned
that the required charging document in the extradition file provided the proof
“to establish that an individual has been ‘charged’ with a crime” under Article
1. Id. at 363 (citing Sacirbey, 589 F.3d at 67). Because the Vitkus court
took no issue with the extraditions in the cases that did not require the
charging document, see id. at 365, the decision provides support, perhaps not
outcome-determinative, for the extradition of T.C. under the Treaty, which also
did not require the charging document.



                                           26
    Case 1:24-mj-01365-DLC   Document 157       Filed 02/11/25   Page 27 of 38



      Two    well-recognized      extradition      principles      support       the

premise that the language of Article 1, construed in conjunction

with Article 7, does not transmute “charged” to “formally charged”.

First, it is not the function of this court to expand or change

the obligations imposed on Türkiye by requiring “charged” to mean

“formally charged.”       See Aguasvivas, 984 F.3d at 1070 (Lynch,

Circuit     Judge,   concurring    in    part    and   dissenting      in    part)

(“[C]ourts cannot expand the obligations of another nation under

a treaty.”) (quoting Assarsson, 635 F.2d at 1241 n.5) (citing Grin

v. Shine, 187 U.S. 181, 191–192 (1902)).

      Second, an extradition court should not review compliance

with foreign criminal procedure “except to the limited extent

necessary to ensure that the federal extradition statute [section

3184] and the [Treaty] have been satisfied.”                McDermott, 516 F.

Supp. 3d at 104; accord Grin, 187 U.S. at 190–191 (“[I]t can hardly

be expected of us that we should become conversant . . . with the

forms of warrants of arrest used [in Russia] for the apprehension

of criminals.”).     This principle is rooted in maintaining “respect

for the sovereignty of other nations” and avoiding the “chance of

error” in “constru[ing] the law of a country whose legal system is



As an aside, T.C.’s argument assumes that “the clear language” in Article 1
bars T.C.’s extradition. For reasons explained, the language is far from clear
in this regard.



                                        27
      Case 1:24-mj-01365-DLC    Document 157    Filed 02/11/25     Page 28 of 38



much different from” the system in this country.                   Assarsson, 635

F.2d at 1244; accord Emami, 834 F.2d at 1449 (“refrain[ing] from

interpreting the requirements of German criminal procedure both

out of respect for German sovereignty and . . . chance of erroneous

interpretation”).       T.C.’s argument, however, that Türkiye has not

formally charged T.C. but, rather, is only investigating him

entails examining Turkish criminal procedure.                    Specifically, it

involves a determination that an investigation under Turkish law

is separate and distinct from a person being charged with the

criminal offense.

       In a related argument, T.C. relies on the Turkish, as opposed

to the English, version of the Treaty and notes that the Turkish

version uses the word “Kovusturma”.            Based on “representations by

Turkish counsel,” T.C. states that Kovusturma “is the process after

an    indictment   is   filed    and   accepted    by   the      Turkish   court.”

Further, so he contends, the Turkish version of the Treaty does

not reference “Sorusturma” which, he represents, refers to the

investigatory stage. From this, T.C. posits that the Treaty allows

the     extradition     of     “individuals     that    have       been    charged

(‘Kovusturma’) rather than those that are wanted by investigators

in relation to a pending investigation (‘Sorusturma’).”                            The

argument is not convincing.




                                       28
     Case 1:24-mj-01365-DLC      Document 157     Filed 02/11/25   Page 29 of 38



      First and foremost, Article 6 of the Treaty requires the

supporting documents of an extradition request to be in English.

(D. 12, p. 12) (“[S]upporting documents shall be accompanied by

certified translations in the language of the Requested Party.”);

see Aguasvivas, 984 F.3d at 1056 n.10 (“We refer only to the

official English-language version of the Treaty”) (citing, inter

alia, article 9 in treaty “requiring all extradition documents to

be   translated     into   the    language   of    the    ‘Requested     Party’”).

Second, for the reasons discussed herein, the court has concluded

that T.C. has been charged with an offense within the meaning of

Article 1.

      In sum, the term “charged” does not mean formally charged

under the plain language of the Treaty.                Rather, construed in the

generic and more elastic sense, it is synonymous with accused.

See Assarsson, 635 F.2d at 1242 (term charged in Article 1 phrase

“have been charged or convicted of” offenses “is used in the

generic sense only to indicate ‘accused’”).                   The issue therefore

reduces to whether the extradition record evidences that T.C. has

been accused of committing the article 85 offense.                  It does.       The

extradition record sufficiently shows that T.C. is accused of

committing    the    article     85   offense     in    the   generic   sense      and

therefore charged with the offense.                    To that end, the arrest

warrant, the prosecutor’s report, and other documents in the


                                        29
      Case 1:24-mj-01365-DLC    Document 157   Filed 02/11/25   Page 30 of 38



extradition file establish that T.C. is accused of committing the

article 85 offense.

       By way of explanation, the arrest warrant includes the article

85 “Offence Charged Against [T.C.].”           Further, the Turkish judge’s

decision to issue the warrant notes the existence of a “strong

suspicion” indicating that T.C. committed the offense and the

“concrete evidence” in the file pointing to his commission of the

offense.     (D. 12, pp. 149-151).

       Further still, the Turkish prosecutor provided an exhaustive

and detailed report, including a summary of the experts’ reports

and witness statements.         These documents, primarily or exclusively

the    arrest   warrant   and    the   prosecutor’s    report,    sufficiently

accused T.C. of committing the article 85 offense.                 See Garcia-

Guillern v. United States, 450 F.2d 1189, 1193 n.1 (5th Cir. 1971)

(alternatively finding no merit to contention fugitive was not

“properly or legally charged with a crime in accordance with the

treaty” because arrest warrant had issued and Peruvian court

declared fugitive’s extradition lawful); see also Martinez v.

United States, 793 F.3d 533, 543–544 (6th Cir. 2015) (finding

Mexican arrest warrant was “charging document:              it identifies the

offense in the Oaxacan criminal code, sets out the essential facts

of the alleged crime, and details the evidentiary basis for the

charge”).


                                        30
     Case 1:24-mj-01365-DLC      Document 157     Filed 02/11/25     Page 31 of 38



        More,    the   prosecutor’s    report     meticulously       sets   out      the

facts,    including     the     warnings    to   T.C.   to    slow   down   and      the

excessive speed that he drove the Porsche.                         The report also

recounts T.C. taking the corner at an “extreme high-speed” and

losing control of the vehicle.              This bears upon T.C. engaging in

reckless    conduct.       As    to   causation,    the      prosecutor,    after     a

comprehensive articulation of the facts, determined that T.C.

“caused the death of one person and the injury of others by

crashing” into the ATV riders standing still on the side of the

road.    (D. 12, p. 99).        The experts’ reports, the arrest warrant,

and the witnesses’ statements add credence to the prosecutor’s

findings, and the prosecutor summarized them in the report.

      Having concluded that T.C. has “been charged with an offense”

within the meaning of Article 1, it is not necessary to address

whether he is “being prosecuted for” an offense within the meaning

of Article 1.

E.   Probable Cause that T.C. Committed the Article 85 Offense

        In order to certify a requested extradition, the court must

“deem[] the evidence sufficient to sustain the charge under the

provisions of the proper treaty or convention.”                 18 U.S.C. § 3184;

see Smyth, 2024 WL 2093460, at *2.                   The standard equates to

probable cause to believe that T.C. committed the article 85

offense.        See Aguasvivas, 984 F.3d at 1062; see also Collins v.


                                           31
   Case 1:24-mj-01365-DLC     Document 157     Filed 02/11/25   Page 32 of 38



Loisel,   259   U.S.   309,    314    (1922)    (stating,       in   context     of

extradition proceeding, “function of the committing magistrate is

to determine whether there is competent evidence to justify holding

the accused to await trial, and not to determine whether the

evidence is sufficient to justify a conviction.”); Kin–Hong, 110

F.3d at 117 (“purpose of the evidentiary portion of the extradition

hearing is to determine whether the United States, on behalf of

the requesting government, has produced sufficient evidence to

hold the person for trial”).         “[P]robable cause is established if

a person of ordinary prudence and caution can conscientiously

entertain   a   reasonable    belief    in   the   probable      guilt   of     the

accused.”   Taylor, 484 F. Supp. 3d at 17 (citing Gerstein v. Pugh,

420 U.S. 103, 111 (1975)).

     Ample evidence in the extradition file establishes probable

cause.    As stated by passengers in the Porsche and the driver of

the Volvo, T.C. was driving the Porsche.            Notably, two passengers

in the Porsche warned T.C. to slow down.            T.C., however, “did not

listen” and the passengers fastened their seat belts “just in

case.”    (D. 70-3, p. 40).     As T.C. came to a bend in the two-way

road, he turned the corner at an approximate speed of 105 to 111

miles per hour, more than five times above the speed limit.

Rounding the bend at this excessive speed, the Porsche, with T.C.




                                       32
   Case 1:24-mj-01365-DLC   Document 157    Filed 02/11/25    Page 33 of 38



at the wheel, crashed into the three ATVs and the individuals

standing still on the side of the road.

     Specific   to   causation   of    O.M.A.’s   death,      the   mechanical

engineer attributed the accident to exceeding the speed limit.

The forensic expert concluded that the accident was the primary

fault of T.C. and the secondary fault of the ATV riders.            Following

the post-mortem examination of O.M.A.’s body, the prosecutor and

the physician expert reached “the conclusion” that O.M.A. died

from internal bleeding arising from the impact with the Porsche

“he had due to the accident.”         (D. 70-3, p. 4) (emphasis added).

Further, and in no uncertain terms, the prosecutor determined that

T.C. “caused the death of one person and the injury to others by

crashing [into] the ATV riders from behind.”                 (D. 70-3, p. 7)

(emphasis added).    Accepting these findings as true, as the court

must, the evidence is overwhelming that T.C. caused the death of

O.M.A.   See D’Monte, 2023 WL 7402921, at *12 (“[A]n extradition

magistrate is bound to view submissions of the requesting country

as true.”).

     T.C. does not really challenge the foregoing standard or take

issue with the facts set out in the extradition record.               Rather,

he contends that O.M.A.’s death was not proximately caused by his

conduct because emergency responders did not take O.M.A. to the

nearest hospital, and medical staff at that more-distant hospital


                                      33
   Case 1:24-mj-01365-DLC   Document 157   Filed 02/11/25   Page 34 of 38



delayed treating O.M.A.      As such, T.C. maintains that probable

cause is absent because the responders’ conduct was an intervening

and superseding act that broke the causal chain, thereby precluding

T.C.’s responsibility for commission of the offense.

      T.C.’s additional evidence (D. 142-3, 142-4, 142-5), which

the court accepts for present purposes, does not materially detract

from the existence of probable cause.         This additional evidence

indicates that that emergency responders transported O.M.A. to a

hospital nearly 22 kilometers from the accident as opposed to a

closer facility slightly more than four kilometers from the scene.

Once O.M.A. arrived at the more distant hospital, a physician

requested blood work at 12:42 a.m. and a sample of O.M.A.’s blood

was drawn at 12:52 a.m.     A specialist in the hematology department

approved the plasma sample at 1:57 a.m.              The same physician

requested a blood bank sample from the blood transfusion center at

12:42 a.m. and a sample was drawn ten minutes later at 12:52 a.m.

The sample was not accepted until 4:21 a.m. and not approved by a

specialist until 5:54 a.m.     (D. 142-5).

     T.C.’s argument fails to persuade for two reasons.               First,

and most simply, the record explicitly alleges that T.C. caused

O.M.A.’s death.   The prosecutor does not mention “proximate” cause

or an “intervening” cause in his report and the extradition record

does not reflect any considerations or findings in this regard.


                                   34
     Case 1:24-mj-01365-DLC    Document 157   Filed 02/11/25    Page 35 of 38



Rather, the record simply addresses causation.                 Second, even if

proximate cause was an element of the offense, the record still

does not demonstrate that T.C.’s conduct was not the proximate

cause of O.M.A.’s death.         The responders, for example, may have

had wholly justifiable reasons not noted in the record to take the

victim to a hospital located further away, e.g., the availability

of superior medical care there or the unavailability of adequate

medical care at a closer situated facility.           Moreover, whether the

actions    of   the   first   responders   were   a   superseding      cause    of

O.M.A.’s death would be a factual and legal issue for the Turkish

court to resolve.

      As a final matter, T.C. maintains that the submissions by

Türkiye omitted that he is a United States citizen.             This, in turn,

purportedly precluded the United States from assessing whether it

should exercise its discretion under Article 4 and refuse to

extradite T.C. 19     T.C. is mistaken on this point; the first page

of   the   extradition   file   identifies    T.C.’s    place     of   birth    as

“EXETER/USA” as does a government record in the extradition file.

(D. 70-3, pp. 3, 60).         Similarly, the arrest warrant identifies




19
  Article 4 provides that neither the United States nor Türkiye “shall be bound
to extradite its own nationals.” (D. 12, p. 11).



                                      35
     Case 1:24-mj-01365-DLC      Document 157       Filed 02/11/25        Page 36 of 38



T.C.’s birthplace as “ER/USA.”             (D. 70-3, p. 53).               As such, this

argument has no force.

2.   Section 3184

      T.C. argues that the “charging” and/or “so charged” language

in section 3184 bars extradition based on investigative needs.                             He

maintains that the clear language of section 3184, similar to the

language    in   Article    1,    refers      to   a   “legal    precondition”             or

condition precedent of “a charge of prosecution.”                         (D. 155).       The

argument lacks merit.

      Placing the “charging” and “so charged” words in context,

section 3184 states:

      Whenever there is a treaty . . . any magistrate judge . . .
      may, upon complaint made under oath, charging any person found
      within his jurisdiction, with having committed within the
      jurisdiction of any such foreign government any of the crimes
      provided for by such treaty . . ., issue his warrant for the
      apprehension of the person so charged, that he may be brought
      before           such”            magistrate            judge.

18 U.S.C. § 3184 (emphasis added). T.C. presumes that the “charge”

at issue here refers to a charge in Türkiye but that is not correct.

Rather,    “charging”      and    “so    charged”       refer        to     the   federal

extradition complaint filed in Florida seeking the arrest warrant.

See e.g., Snider v. Seung Lee, 584 F.3d 193, 200 (4th Cir. 2009)

(dicta    quoting   section       3184   and       inserting     “the        extradition




                                         36
       Case 1:24-mj-01365-DLC     Document 157    Filed 02/11/25      Page 37 of 38



complaint” in brackets after “so charged”). 20                      More precisely,

under     the   language    of    section     3184,      it    is   the   extradition

“complaint made under oath” that is “charging” the person with

having committed in the territory of the foreign government a crime

covered by the Treaty.            See Grin, 187 U.S. at 185-86; see also

Snider, 584 F.3d at 200.           Interpreting a predecessor statute with

similar pertinent language, 21 the Court in Grin concurred that the

language      refers   to   the   complaint      filed    in    the   United    States

district court.        Simply put, it is the extradition complaint under

oath filed in Florida that is “charging” the crime.

        In conclusion, the court finds that the five elements to

certify T.C.’s extradition have been met.                     Certification to the

Secretary of State of T.C.’s extradition is therefore appropriate.




20   To provide more detail, the Fourth Circuit in Snider stated that:

        The arrest of the citizen in the United States is made on a warrant
        issued after the complaint of extradition is filed to compel the
        citizen to attend the extradition hearing. See 18 U.S.C. § 3184
        (authorizing “warrant for the apprehension of the person so charged [in
        the extradition complaint], that he may be brought before such
        [judicial officer], to the end that the evidence of criminality may be
        heard and considered [in the extradition proceeding]”); see generally
        Mironescu, 480 F.3d at 665–66.

Snider, 584 F.3d at 200.
21 The language states that, a judge may, “upon complaint made under oath,
charging any person found” in any state or district “with having committed
within the jurisdiction of” the “foreign government any of the crimes provided
for by [the] treaty or convention,” issue a “warrant of apprehension of the
person so charged.” Grin, 187 U.S. at 186.



                                         37
     Case 1:24-mj-01365-DLC   Document 157   Filed 02/11/25   Page 38 of 38



V.   CONCLUSION

      The relator’s motion to dismiss (D. 87) is DENIED.             Based on

the foregoing, this matter is certified to the Secretary of State

in order that a warrant may issue, upon the requisition of the

proper authorities in Türkiye, for the surrender of T.C. on the

charge of causing reckless killing and injury under article 85/2

of the Criminal Code of Türkiye, according to the provisions of

the Treaty between the United States and Türkiye.

      No later than seven days after the date of this decision, the

government shall file a proposed extradition certification and

order of commitment.

      The court will then order that the clerk of court forward a

certified copy of this Extradition Certification and Order of

Commitment, together with a copy of all the evidence taken before

this court, to the Secretary of State, Department of State, to the

attention of the Office of the Legal Adviser.

      T.C. shall remain in the custody of the U.S. Marshal for this

District, to be held pending final disposition of this matter by

the Secretary of State and pending his surrender to the government

of Türkiye.


                                          /s/ Donald L. Cabell
                                          DONALD L. CABELL, Ch. U.S.M.J.

DATED:    February 11, 2025


                                     38
